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United States Courts
Southern District of Texas
FILED

TEXAS DEPARTMENT OF CRIMINAL JUSTICE

 

 

CORRECTIONAL INSTITUTIONS DIVISION AUG 05 209
DIRECTOR’S REVIEW COMMITTEE David J. Bradley, Clerk of Court
DECISION FORM
Y19W/ S27
4° ro0tu HS
Offender: COLLINS, Douglas TDCJ-ID#: 298978
Unit: P1 026 Date: 07/20/20

 

 

The Director's Review Committee (DRC) has rendered a decision regarding your
appeal of the Unit decision not to allow you to mail a piece of meat product found
in legal mail in contradiction with BP-03.91, Uniform Offender Correspondence
Rules.

The envelope is addressed to:
David J Bradley

U.S Distruct Court Southern District of Texas P.O. Box 61010
Houston, TX 77208

It is the decision of the DRC to uphold the Unit decision not to allow you to mail
the above referenced correspondence and/or item(s).

DRC/AJ

copy: Unit Mailroom
David J Bradley
file
